                                         Case 5:23-cv-00643-JGB-SP                      Document 17 Filed 05/24/23   Page 1 of 5 Page ID
                                                                                              #:274


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                                                    6 Attorneys for Defendants
                                                        Leigh O. Curran, Kristy Fercho and
                                                    7 Leesa Whitt-Potter

                                                    8                                 UNITED STATES DISTRICT COURT
                                                    9                                CENTRAL DISTRICT OF CALIFORNIA
                                                   10

                                                   11 CONCETTA MANZANO S.,                           Case No.: 5:23-CV-00643-JGB-SP
                                                        GEORGE F. SEMEIL, JR.,                       Assigned to: Hon. Jesus G. Bernal
                  155 N. Lake Avenue, 11th Floor




                                                   12
                                                                          Plaintiffs,                REQUEST BY COUNSEL FOR
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13                                                DEFENDANTS LEIGH O. CURRAN,
                                                                 v.                                  KRISTY FERCHO AND LEESA
                                                   14                                                WHITT-POTTER TO APPEAR
                                                        WILMINGTON TRUST                             REMOTELY AT HEARING ON
                                                   15 NATIONAL ASSOCIATION,                          MOTION TO REMAND;
                                                        BARRETT DAFFIN & FRAPPIER                    DECLARATION OF KAILA M.
                                                   16 TREADER & WEISS, LLP.,                         BRADLEY
                                                        THINKREALESTATE.NET,
                                                   17 DIVISION OF KELLY WILLIAMS
                                                        REALTY, MORTGAGE                             Date:    June 5, 2023
                                                   18 ELECTRONIC SYSTEM (AKA                         Time:    9:00 a.m.
                                                        “MERS”), KRISTINA PELLETIER,                 Crtrm:   1
                                                   19 LAWRENCE D. HARRIS, KRISTY
                                                        FERCHO, LEESA WHITT-
                                                   20 PORTER, ARNOLD L. GRAFF, and
                                                        DOES 1 through 50, inclusive,
                                                   21
                                                                          Defendants.
                                                   22

                                                   23

                                                   24            TO THE HONORABLE COURT, ALL PARTIES AND THEIR
                                                   25 ATTORNEY OF RECORD:

                                                   26            Defendants Leigh O. Curran, Kristy Fercho, and Leesa Whitt-Potter
                                                   27 respectfully request the Court to permit their attorney Kaila M. Bradley to appear

                                                   28
                                                        {94000/HR2682/00771977-2 }        1
                                                          REQUEST BY COUNSEL FOR DEFENDANTS LEIGH O. CURRAN, KRISTY FERCHO,
                                                         AND LEESA WHITT-POTTER TO APPEAR REMOTELY AT HEARING ON MOTION TO
                                                                      REMAND; DECLARATION OF KAILA M. BRADLEY
                                         Case 5:23-cv-00643-JGB-SP                   Document 17 Filed 05/24/23     Page 2 of 5 Page ID
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                                                    1 remotely on their behalf at the upcoming hearing on Defendant Paul Boudier and

                                                    2 Dance Hall Investor’s Motion to Remand set for June 5, 2023. Defendants Leigh

                                                    3 O. Curran, Kristy Fercho, and Leesa Whitt-Potter (collectively, “Defendants”) are

                                                    4 not the moving parties and do not oppose the motion. Per Central District of

                                                    5 California Local Rule 7-14, Defendants’ appearance is not required at the hearing.

                                                    6 Although their appearance is not required for the hearing, Defendants wish to

                                                    7 appear remotely, if possible, to be informed of the outcome of the hearing and to

                                                    8 and to avoid the time and expense from commuting from Pasadena, California to

                                                    9 Riverside, California. This request is supported by the accompanying declaration

                                                   10 of Kaila M. Bradley, counsel for Defendants.

                                                   11
                  155 N. Lake Avenue, 11th Floor




                                                   12                                             Respectfully submitted,
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13 Dated: May 24, 2023                         LAGERLOF, LLP
                                                   14

                                                   15                                             By:
                                                                                                        Kaila M. Bradley
                                                   16                                                   Attorneys for Defendants
                                                                                                        Leigh O. Curran, Kristy Fercho, and
                                                   17                                                   Leesa Whitt-Potter
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                                                        {94000/HR2682/00771977-2 }        2
                                                          REQUEST BY COUNSEL FOR DEFENDANTS LEIGH O. CURRAN, KRISTY FERCHO,
                                                         AND LEESA WHITT-POTTER TO APPEAR REMOTELY AT HEARING ON MOTION TO
                                                                      REMAND; DECLARATION OF KAILA M. BRADLEY
                                         Case 5:23-cv-00643-JGB-SP                      Document 17 Filed 05/24/23     Page 3 of 5 Page ID
                                                                                              #:276


                                                    1                                DECLARATION OF KAILA BRADLEY
                                                    2            I, Kaila Bradley, do hereby declare and state as follows:
                                                    3            1.       I am an attorney admitted to practice in the Central District of
                                                    4 California, and the courts of the State of California. I am an attorney at Lagerlof

                                                    5 LLP, counsel of record in this action for Defendants Leigh O. Curran, Kristy

                                                    6 Fercho, and Leesa Whitt-Potter. If sworn as a witness, I could and would testify to

                                                    7 my personal knowledge of the facts set forth herein.

                                                    8            2.       My clients, Defendants Leigh O. Curran, Kristy Fercho, and Leesa
                                                    9 Whitt-Potter (“Defendants”) are not the moving party for the motion to remand and

                                                   10 do not oppose the motion.

                                                   11            3.       Although my attendance is not required, per Central District of
                  155 N. Lake Avenue, 11th Floor




                                                   12 California Local Rule 7-14, I wish to attend the hearing remotely to stay informed
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13 for the benefit of my clients. As I am neither the moving party nor am I opposing

                                                   14 the motion, I do not anticipate making any arguments at the hearing. I wish to

                                                   15 appear remotely to save my clients the time and expense associated with travel to

                                                   16 and from the courthouse from my office in Pasadena, California.

                                                   17            Having reviewed this Declaration, I declare, under penalty of perjury and
                                                   18 pursuant to 28 U.S.C. § 1746, that the foregoing is true and correct.

                                                   19            Executed this 24th day of May 2023, at Pasadena, California.
                                                   20

                                                   21

                                                   22                                                      Kaila Bradley
                                                   23

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                                                        {94000/HR2682/00771977-2 }        1
                                                          REQUEST BY COUNSEL FOR DEFENDANTS LEIGH O. CURRAN, KRISTY FERCHO,
                                                         AND LEESA WHITT-POTTER TO APPEAR REMOTELY AT HEARING ON MOTION TO
                                                                      REMAND; DECLARATION OF KAILA M. BRADLEY
                                         Case 5:23-cv-00643-JGB-SP                   Document 17 Filed 05/24/23      Page 4 of 5 Page ID
                                                                                           #:277


                                                   1 Manzano V. Wilmington Trust National Association             Case No. 5:23-CV-00643-JGB-SP

                                                   2                                 CERTFICATE OF SERVICE
                                                   3 STATE OF CALIFORNIA                  )
                                                                                   ) ss.
                                                   4 COUNTY OF LOS ANGELES )

                                                   5       I am employed in the County of Los Angeles, State of California. I am
                                                     over the age of 18 years and not a party to the within action. My business
                                                   6 address is 155 North Lake Avenue, 11th Floor, Pasadena, California 91101-4158.
                                                           On May 24, 2023, I served the foregoing document(s) described as:
                                                   7
                                                          REQUEST BY COUNSEL FOR DEFENDANTS LEIGH O. CURRAN, KRISTY
                                                   8        FERCHO AND LEESA WHITTPOTTER’ TO APPEAR REMOTELY AT
                                                                HEARING ON MOTION TO REMAND; PROPOSED ORDER
                                                   9 on the interested parties in this action by placing a true and correct copy enclosed
                                                      in a sealed envelope as follows:
                                                   10
                                                                     Service by Court’s CM/ECF System and U.S. Mail
                                                   11            Plaintiff, In Pro Per               Plaintiff, In Pro Per
                  155 N. Lake Avenue, 11th Floor




                                                   12               George F. Semeil, Jr.                          Concetta Manzano
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                                        P.O. Box 196                                 P.O. Box 196
                                                   13              Palm Springs, CA 92262                       Palm Springs, CA 92262
                                                   14                 Tel: (408) 364-6396                         Tel: (408) 364-6396
                                                   15
                                                                 Attorneys for Defendants                Attorneys for Defendants
                                                   16   Wilmington Trust, National Association, Paul Boudier and Dance Hall Investors,
                                                         not in its individual capacity, but solely   Inc., erroneously sued herein as
                                                   17      as Trustee of MFRA Trust 2016-1          Thinkrealestate.net, Division of Kelly
                                                        (erroneously sued as “Wilmington Trust                 Williams Realty
                                                   18      National Association”); Mortgage
                                                          Electronic Registration Systems, Inc.            Shannon B. Jones, Esq.
                                                   19       (erroneously sued as “Mortgage               ROSSI DOMINGUE LLP
                                                        Electronic System”); Kristina Pelletier;
                                                   20     Arnold L. Graff; Fay Servicing, LLC;            208 W. El Pintado Road
                                                         Ryan Finnigan; and Kimberly Bigham                  Danville, CA 94526
                                                   21
                                                                 R. Robert Finlay, Esq.
                                                   22          Kristina M. Pelletier, Esq.                     Tel: (408) 495-3900
                                                            WRIGHT, FINLAY & ZAK, LLP                  Emails: sbj@sbj-law.com; mac@sbj-
                                                   23       4665 MacArthur Court, Suite 200                          law.com
                                                               Newport Beach, CA 92660
                                                   24
                                                          Tel: (949) 477-5050 / Fax: (949) 608-
                                                   25                     9142
                                                           Email: kpelletier@wrightlegal.net
                                                   26
                                                               BY MAIL: I am readily familiar with the firm’s practice of collection and
                                                   27           processing correspondence by mailing. Under that same practice it would
                                                                be deposited with U.S. Postal Service on that same day with postage fully
                                                   28           prepaid at Pasadena, California in the ordinary course of business. I am
                                                                aware that on motion of the party served, service is presumed invalid if
                                                        {94000/HR2682/00771977-2 }
                                                                                             PROOF OF SERVICE
                                         Case 5:23-cv-00643-JGB-SP                   Document 17 Filed 05/24/23       Page 5 of 5 Page ID
                                                                                           #:278


                                                   1            postal cancellation date or postage meter date is more than one day after
                                                                date of deposit for mailing in affidavit.
                                                   2
                                                                 I declare under penalty of perjury under the laws of the United States of
                                                   3 America that the foregoing is true and correct. I declare that I am employed in

                                                   4
                                                        the office of a member of the Bar of this Court, at whose direction the service
                                                        was made. This declaration is executed at Pasadena, California on May 24, 2023.
                                                   5
                                                                  Laurie Hlista                                 /s/ Laurie Hlista
                                                   6              (Type or Print Name)                              (Signature of Declarant)
                                                   7

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                  155 N. Lake Avenue, 11th Floor




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                       Pasadena, CA 91101
L AGERLOF , LLP




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                                                        {94000/HR2682/00771977-2 }
                                                                                             PROOF OF SERVICE
